                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                             )
                                                      ) Case No. 1:17-cr-072-CLC-SKL-01
 v.                                                   )
                                                      )
 JAMES ALLEN BOWERS                                   )

                                MEMORANDUM AND ORDER

        JAMES ALLEN BOWERS, (“Defendant”) appeared for a hearing on November 8, 2021,
 in accordance with Rules 5 and 32.1 of the Federal Rules of Criminal Procedure on the 2nd
 Amended Petition for a Warrant for an Offender Under Supervision [Doc. 90] (“Petition”) in the
 above matter.

         Defendant was placed under oath and informed of his constitutional rights. It was
 determined that Defendant wished to be represented by an attorney and he qualified for appointed
 counsel. Attorney D. Mitchell Bryant was present as counsel for Defendant. It was also
 determined that Defendant had been provided with and reviewed with counsel a copy of the
 Petition.

        The Government moved that Defendant be detained without bail pending his revocation
 hearing before U.S. District Judge Curtis L. Collier. Defendant waived his right to a preliminary
 hearing and a detention hearing.

        Based upon the Petition and waiver of preliminary hearing, the Court finds there is probable
 cause to believe Defendant has committed violations of his conditions of supervised release as
 alleged in the Petition.

        Accordingly, it is ORDERED that:

        (1) Defendant shall appear for a revocation hearing before U.S. District Judge Collier.

        (2) The Government’s motion that Defendant be DETAINED WITHOUT BAIL pending
        his revocation hearing before Judge Collier is GRANTED.

        (3) The U.S. Marshal shall transport Defendant to a revocation hearing set before District
        Judge Collier at the time of any sentencing in case 1:21-cr-0117-CLC-SKL if Defendant is
        convicted.

        SO ORDERED.

        ENTER.                                s/Susan K. Lee
                                              SUSAN K. LEE
                                              UNITED STATES MAGISTRATE JUDGE



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